 Case: 1:20-cv-04798 Document #: 70 Filed: 08/04/22 Page 1 of 1 PageID #:1143

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Nathaniel Polley, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:20−cv−04798
                                                    Honorable Harry D. Leinenweber
Northwestern University
                                 Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 4, 2022:


        MINUTE entry before the Honorable Harry D. Leinenweber: For the reasons
stated in the Court's next docket entry and order, Northwestern's Motion to Dismiss (Dkt.
No. 58) is denied. Telephone Conference set for 9/27/22 at 9:15 a.m. for further
scheduling. Dial: 888−684−8852 or 215−446−0155, access code: 9582710#. Outstanding
responsive pleadings shall be filed by 9/21/22. Joint status report shall be filed by 9/21/22.
Mailed notice notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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